           Case 3:22-cv-03070-TSH Document 31-1 Filed 07/19/23 Page 1 of 3




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18                            UNITED STATES DISTRICT COURT
19                          NORTHERN DISTRICT OF CALIFORNIA

20

21    UNITED STATES OF AMERICA,                      Case No. 3:22-cv-3070-TSH

22                         Plaintiff,                DECLARATION OF ZACHARY L.
                                                     COWAN IN SUPPORT OF THE
23
                   v.                                STIPULATED REQUEST FOR ORDER
24                                                   EXTENDING BRIEFING DEADLINES
      TWITTER, INC., a corporation,                  ON X CORP.’S MOTION FOR
25                                                   PROTECTIVE ORDER & RELIEF
                           Defendant.                FROM CONSENT ORDER
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     DECLARATION OF ZACHARY L. COWAN
     Case No. 3:22-cv-3070-TSH
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             Case 3:22-cv-03070-TSH Document 31-1 Filed 07/19/23 Page 2 of 3




 1 I, Zachary L. Cowan, declare as follows:

 2          1.      I am a Trial Attorney at the Consumer Protection Branch of the United States Department

 3 of Justice. I submit this declaration in support of the parties’ Stipulated Request for Order Extending

 4 Briefing Deadlines on X Corp.’s Motion for Protective Order & Relief from Consent Order. The matters

 5 in this declaration are based on my personal knowledge and my review of the filings in this case.

 6          2.      On May 25, 2022, the United States of America filed the Complaint in this action, which

 7 alleged that Defendant Twitter, Inc. had violated a 2011 Federal Trade Commission (“FTC”)

 8 administrative order and the FTC Act by misrepresenting the extent to which Twitter maintained and

 9 protected the privacy of nonpublic consumer information.

10          3.      On May 26, 2022, the Court entered a Stipulated Order for Civil Penalty, Monetary

11 Judgment, and Injunctive Relief (“Stipulated Order”) to resolve the claims for civil penalties and

12 injunctive relief set forth in the Complaint.

13          4.      On July 13, 2023, X Corp., successor in interest to Defendant Twitter, Inc. (“X Corp.”),

14 filed a motion to terminate, modify, or stay enforcement of the Stipulated Order, and for a protective order

15 staying the Notice of Deposition of Elon Musk issued by the FTC. The United States Department of Justice

16 did not have an opportunity to meet and confer with counsel for X. Corp. prior to the filing of the X.

17 Corp.’s Motion. Under Local Rule 7-3, the United States’ opposition to that motion is due by July 27,

18 2023, and X Corp.’s reply is due by August 3, 2023.
19          5.      The parties have since conferred regarding these deadlines and agree that additional time

20 would be appropriate to enable thorough briefing of the issues raised by X Corp.’s motion.

21          6.      Pursuant to that agreement, the parties stipulate and jointly request that: (1) the United

22 States’ deadline to file an opposition to X Corp.’s motion be extended to September 11, 2023 (60 days

23 from X Corp.’s motion); (2) X Corp.’s deadline to file a reply be extended to October 11, 2023 (30 days

24 from the United States’ opposition); and (3) the Court hear X. Corp’s Motion at a time that is convenient

25 for the Court thereafter. Counsel for the FTC have further agreed that the FTC will await the Court’s

26 decision on X Corp’s motion before taking Mr. Musk’s deposition or taking further administrative action

27 under the Stipulated Order or the FTC administrative order.

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     DECLARATION OF ZACHARY L. COWAN
     Case No. 3:22-cv-3070-TSH
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           Case 3:22-cv-03070-TSH Document 31-1 Filed 07/19/23 Page 3 of 3




 1        7.     The parties have not previously requested any time modifications in this case.

 2        8.     No case schedule in this matter will be affected by the time modifications requested here.

 3        I declare, under penalty of perjury, that the foregoing is true and correct to the best of my

 4 knowledge and belief.

 5        Executed in Washington, D.C., on July 19, 2023.

 6                                                    /s/ Zachary L. Cowan
                                                      ZACHARY L. COWAN
 7                                                    Trial Attorney
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     DECLARATION OF ZACHARY L. COWAN
     Case No. 3:22-cv-3070-TSH
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